                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 STATESVILLE DIVISION

UNITED STATES OF AMERICA            )                     DOCKET NO. 5:19-cr-27-FDW
                                    )
         v.                         )
                                    )
OSCAR RANGEL-GUTIERREZ              )                     FACTUAL BASIS
____________________________________)

        NOW COMES the United States of America, by and through William Stetzer, Attorney
for the United States,1 and hereby files this Factual Basis in support of the Plea Agreement filed
simultaneously in this matter.

        This Factual Basis is filed pursuant to Local Criminal Rule 11.2 and does not attempt to
set forth all of the facts known to the United States at this time. By their signatures below, the
parties expressly agree that there is a factual basis for the guilty plea(s) that the Defendant will
tender pursuant to the Plea Agreement, and that the facts set forth in this Factual Basis are
sufficient to establish all of the elements of the crime(s). The parties agree not to object to or
otherwise contradict the facts set forth in this Factual Basis.

       Upon acceptance of the plea, the United States will submit to the Probation Office a
“Statement of Relevant Conduct” pursuant to Local Criminal Rule 32.4. The Defendant may
submit (but is not required to submit) a response to the Government’s “Statement of Relevant
Conduct” within seven days of its submission. The parties understand and agree that this Factual
Basis does not necessarily represent all conduct relevant to sentencing. The parties agree that
they have the right to object to facts set forth in the presentence report that are not contained in
this Factual Basis. Either party may present to the Court additional relevant facts that do not
contradict facts set forth in this Factual Basis.

       1. From at least as early as in or about 2013 to in or about February 2019, in Iredell
County and Mecklenburg County, within the Western District of North Carolina, and elsewhere,
the Defendant, OSCAR RANGEL-GUTIERREZ, did knowingly and intentionally conspire and
agree with other persons, known and unknown to the United States, to distribute and to possess
with intent to distribute fifty (50) grams of methamphetamine (actual), a Schedule II controlled
substance, in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(A), and
846.

       2. On or about August 21, 2018, in Mecklenburg County, within the Western District of
North Carolina, and elsewhere, the Defendant, OSCAR RANGEL-GUTIERREZ, did knowingly

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    Acting under authority conferred by 28 U.S.C. §515.


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